     Case 2:16-bk-17463-ER       Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33          Desc
                                  Main Document    Page 1 of 18


 1   Steven Jay Katzman, State Bar No. 132755
     skatzman@bmkattorneys.com
 2   Anthony Bisconti, State Bar No. 269230
     tbisconti@bmkattorneys.com
 3   BIENERT, MILLER & KATZMAN, PLC
     903 Calle Amanecer, Suite 350
 4
     San Clemente, California 92673
 5   Telephone: (949) 369-3700
     Facsimile: (949) 369-3701
 6
     Co-Counsel to the
 7   Official Committee of Unsecured Creditors of
     Gardens Regional Hospital and Medical Center
 8
     -and-
 9

10   Andrew H. Sherman (pro hac vice)
     asherman@sillscummis.com
11   Boris I. Mankovetskiy (pro hac vice)
     bmankovetskiy@sillscummis.com
12   SILLS CUMMIS & GROSS P.C.
     One Riverfront Plaza
13   Newark, NJ 07102
14   Telephone: (973) 643-7000
     Facximile: (973) 643-6500
15
     Co-Counsel to the
16   Official Committee of Unsecured Creditors of
     Gardens Regional Hospital and Medical Center
17

18                               UNITED STATES BANKRUPTCY COURT

19                 CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

20
     In re:                                         Case No. 2:16-bk-17463-ER
21
     GARDENS REGIONAL HOSPITAL AND                  Chapter 11
22   MEDICAL CENTER, INC., dba GARDENS
     REGIONAL HOSPITAL AND MEDICAL                  BIENERT, MILLER & KATZMAN PLC’S
23   CENTER,                                        MONTHLY FEE APPLICATION FOR
                                                    ALLOWANCE AND PAYMENT OF INTERIM
24
                                                    COMPENSATION AND REIMBURSEMENT OF
                    Debtor.                         EXPENSES FOR THE PERIOD FROM
25
                                                    DECEMBER 1, 2016 THROUGH DECEMBER 31,
                                                    2016
26
                                                    [No Hearing Required Pursuant to L.B.R. 9013-1(o)
27

28
                                                     1
              BIENERT, MILLER & KATZMAN PLC’S MONTHLY FEE APPLICATION FOR ALLOWANCE AND
                PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
                          PERIOD FROM DECEMBER 1, 2016 THROUGH DECEMBER 31, 2016
     Case 2:16-bk-17463-ER        Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33                 Desc
                                   Main Document    Page 2 of 18


 1          1.      Bienert, Miller & Katzman, PLC (the “Firm”) submits its Monthly Fee Application (the

 2   “Application”) for Allowance and Payment of Interim Compensation and Reimbursement of Expenses

 3   for the Period December 1, 2016 through December 31, 2016 (the “Application Period”) for work

 4   performed for the Official Committee of Unsecured Creditors (the “Committee”). In support of the

 5   Application, the Firm respectfully represents as follows:

 6          2.      The Firm is special counsel to the Committee. The Firm hereby applies to the Court for

 7   allowance and payment of interim compensation for services rendered and reimbursement of expenses

 8   incurred during the Application Period.

 9          3.      The Firm billed a total of $3,514.82 in fees and expenses during the Application Period.

10   The total fees represent 9.4 hours expended during the period covered by this Application. These fees

11   and expenses break down as follows:

12   Period                           Fees                       Expenses                Total
     12/01/16 – 12/31/16              $3,380.001                 $134.82                 $3,514.82
13

14          4.      Accordingly, the Firm seeks allowance of interim compensation in the amount of a total of
15   $2,838.82 at this time. This total is comprised as follows: $2,704.00 (80% of the fees for services
16   rendered) plus $134.82 (100% of the expenses incurred). To the extent that the combined fees of the
17   Firm; Lobel Weiland Golden Friedman LLP; and Sills Cummis & Gross P.C. (the collective co-
18   counsel to the Committee) exceed the $50,000-per-month cap set forth in the firms’ retention
19   applications for the Application Period, the Firm requests payment of its proportional share of the
20   $50,000-per-month fee cap (together with 100% of the Firm’s expenses), with payment of the
21   remainder of 80% of the Firm’s fees for the Application Period deferred as set forth in its retention
22   application.
23

24   1
       As set forth in the Firm’s employment application [Doc. 346 (Employment Application)], which has
25   been approved by the Court [Doc. 406 (Order Approving Employment Application)], “the [Firm]’s fees
     (not including expenses) for each month in this case will be limited to the lesser of (x) the amount of its
26   fees at [its standard hourly rates as set forth in the Employment Application] and (y) the amount of its
     fees at a blended hourly rate of $500.” See Doc. 346 at 5:5-13. For this Application, fees calculated at
27
     the Firm’s applicable rates ($3,380.00) are less than the Firm’s fees calculated at the blended rate of $500
28   ($500 x 9.4 hours = $4,700.00). Accordingly, for purposes of the Application, the Firm is not applying
     the blended rate.                                       2
            BIENERT, MILLER & KATZMAN PLC’S MONTHLY FEE APPLICATION FOR ALLOWANCE AND
              PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
                        PERIOD FROM DECEMBER 1, 2016 THROUGH DECEMBER 31, 2016
     Case 2:16-bk-17463-ER         Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33                Desc
                                    Main Document    Page 3 of 18


 1          5.       For the postpetition period, the Firm has been paid to date as follows:

 2   Application Period                   Amount                   Description
     06/06/16 – 08/31/16                  $0.00 (but see below)    No amounts paid (but see below)
 3   09/01/16 – 09/30/16                  $0.00 (but see below)    No amounts paid (but see below)
 4   10/01/16 – 10/31/16                  $0.00(but see below)     No amounts paid (but see below)
     11/01/16 – 11/30/16                  $0.00 (but see below)    No amounts paid (but see below)
 5   Total Paid to the Firm to Date       $3,300                   In December 2016, the Debtor allocated
                                                                   $150,000 to be paid toward the estate
 6                                                                 professionals’ outstanding fees and expenses
                                                                   pursuant to the authorized interim fee
 7
                                                                   procedures. The payment was not allocated
 8                                                                 to any specific application period, but rather
                                                                   to the total amount of fees and costs accrued
 9                                                                 and outstanding. Of this amount, $50,000
                                                                   was disbursed to the Committee’s counsel,
10                                                                 which was then distributed pro-rata between
                                                                   the Committee’s retained professionals; as a
11
                                                                   result, the Firm has received payment of
12                                                                 $3,300 toward its outstanding fees and costs
                                                                   previously submitted pursuant to the Court
13                                                                 approved interim fee procedures.
14          6.       To date, the Firm is owed as follows (excluding amounts owed pursuant to this

15   Application):

16   Application Period                   Amount                  Description
     06/06/16 – 08/31/16                  $1,685.76 (but see      Fees and expenses set forth in application
17                                        below)                  filed September 26, 2016 [Doc. 418]
     09/01/16 – 09/30/16                  $6,585.17 (but see      Fees and expenses set forth in application
18                                        below)                  filed October 25, 2016 [Doc. 477]
     10/01/16 – 10/31/16                  $19,214.15 (but see     Fees and expenses set forth in application
19
                                          below)                  filed November 22, 2016 [Doc. 545]
20   11/01/16 – 11/30/16                  $6,079.91               Fees and expenses set forth in application
                                                                  filed December 27, 2016 [Doc. 589]
21   Total Owed to the Firm to Date $30,264.99                    Total owed takes into account the $3,300
                                                                  received by the Firm as set forth above.
22
            7.       Attached as Exhibit A to this Application is the name of each professional who performed
23
     services in connection with this case during the period covered by this Application and the hourly rate for
24
     each such professional. Attached as Exhibit B to this Application is the detailed time and expense
25
     statements for the Application Period by category. Attached as Exhibit C to this Application is the
26
     Firm’s December 2016 billing statement.
27
            8.       The Firm has served a copy of this Application on the Office of the United States Trustee
28
                                                          3
            BIENERT, MILLER & KATZMAN PLC’S MONTHLY FEE APPLICATION FOR ALLOWANCE AND
              PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
                        PERIOD FROM DECEMBER 1, 2016 THROUGH DECEMBER 31, 2016
     Case 2:16-bk-17463-ER        Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33                 Desc
                                   Main Document    Page 4 of 18


 1   the above-captioned debtor (the “Debtor”), counsel to the Debtor, and counsel to the Committee

 2   appointed in this case. The Application was mailed by first class mail, postage prepaid, on or about

 3   January 25, 2017. Notice of the filing of this Application was also served on the foregoing parties as

 4   well as any party who has requested special notice in this chapter 11 case as of the date of the Notice.

 5   The Notice was mailed by first class mail, postage prepaid, on or about January 25, 2017.

 6          9.      Pursuant to this Court’s Order Authorizing Interim Fee Procedures that was entered on or

 7   about September 20, 2016, the Debtor is authorized to make the payment requested herein without

 8   further hearing or order of this Court unless an objection to this Application is filed with the Court and

 9   served upon the Notice Parties within ten (10) calendar days after the date of mailing of the Notice of this

10   Application. If such an objection is filed, the Debtor is authorized to pay 80% of the uncontested fees and

11   100% of the uncontested expenses without further order of the Court. If no objection is filed, the Debtor

12   is authorized to pay 80% of all fees requested in the Application and 100% of the uncontested expenses

13   without further order of the Court.

14          10.     The interim compensation and reimbursement of expenses sought in this Application is

15   not final. Upon the conclusion of this case, the Firm will seek fees and reimbursement of the expenses

16   incurred for the totality of the services rendered in this case. Any interim fees or reimbursement of

17   expenses approved by this Court and received by the Firm (along with any retainer) will also be credited

18   against such final fees and expenses as may be allowed by this Court.

19          In light of the forgoing, the Firm respectfully requests that the Debtor pay compensation to the

20   Firm as requested herein pursuant to and in accordance with the terms of the Order Authorizing Interim

21   Fee Procedures.

22

23

24

25

26

27

28
                                                         4
            BIENERT, MILLER & KATZMAN PLC’S MONTHLY FEE APPLICATION FOR ALLOWANCE AND
              PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
                        PERIOD FROM DECEMBER 1, 2016 THROUGH DECEMBER 31, 2016
     Case 2:16-bk-17463-ER       Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33        Desc
                                  Main Document    Page 5 of 18


 1   Dated: January 25, 2017                      BIENERT, MILLER & KATZMAN, PLC

 2                                                By: /s/ Anthony R. Bisconti
                                                      Steven Jay Katzman
 3
                                                      Anthony R. Bisconti
 4                                                    Co-Counsel to the Official Committee
                                                      of Unsecured Creditors of Gardens Regional
 5                                                    Hospital and Medical Center
 6                                                      -and-
 7                                                      SILLS CUMMIS & GROSS P.C.
 8
                                                        By: /s/ Andrew H. Sherman_______________
 9                                                      Andrew H. Sherman
                                                        Boris I. Mankovetskiy
10                                                      Co-Counsel to the Official Committee
                                                        of Unsecured Creditors of Gardens Regional
11
                                                        Hospital and Medical Center
12

13
     345573-1

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                    5
                BIENERT, MILLER & KATZMAN PLC’S MONTHLY FEE APPLICATION FOR ALLOWANCE AND
                  PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
                            PERIOD FROM DECEMBER 1, 2016 THROUGH DECEMBER 31, 2016
Case 2:16-bk-17463-ER   Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33   Desc
                         Main Document    Page 6 of 18




               Exhibit A
Case 2:16-bk-17463-ER     Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33   Desc
                           Main Document    Page 7 of 18


           BIENERT, MILLER & KATZMAN, PLC’S PROFESSIONALS


       Professional                    Title                     Rate
    Anthony R. Bisconti              Associate                   $450
    Carolyn K. Howland               Paralegal                   $200
Case 2:16-bk-17463-ER   Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33   Desc
                         Main Document    Page 8 of 18




               Exhibit B
Case 2:16-bk-17463-ER      Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33   Desc
                            Main Document    Page 9 of 18


                           TIME AND EXPENSE STATEMENT

        Project Category            Matter      Hours         Fees      Expenses
                                     No.
 Case Administration                B110         1.3        $585.00      $0.00
 Relief from Stay/Adequate
                                     B140        0.2         $90.00      $0.00
 Protection Proceedings
 Fee/Employment Applications         B160        1.2        $540.00      $0.00
 Financing/Cash Collections          B230        1.0        $450.00      $0.00
 Claims Administration and
                                     B310        1.7        $765.00      $0.00
 Objections
 Plan and Disclosure
 Statement (including                B320        0.2         $90.00      $0.00
 Business Plan)
 Case Assessment, Development
                                     L100        N/A         $0.00      $134.82
 and Administration
 Other Case Assessment,
 Development and                     L190        2.0        $400.00      $0.00
 Administration
 Pleadings                           L210        0.2         $90.00      $0.00
 Discovery                           L300        0.2         $90.00      $0.00
 Written Motions and
                                     L430        1.4        $280.00      $0.00
 Submissions
 TOTALS                                          9.4        $3,380.00    $134.82
Case 2:16-bk-17463-ER   Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33   Desc
                         Main Document    Page 10 of 18




               Exhibit C
             Case 2:16-bk-17463-ER        Doc 645       Filed 01/25/17      Entered 01/25/17 21:52:33         Desc
                                    BIENERT,  MILLER &Page
                                        Main Document  KATZMAN,
                                                           11 of 18 PLC
                                                  ATTORNEYS AT LAW
                                                  903 Calle Amanecer, Suite 350
                                                    San Clemente, CA 92673
                                                           949-369-3700




                                                                                  Statement Date: December 31, 2016
        Gardens Regional Hospital
                                                                                  Statement No.:   38616
                                                                                                           Page:     1




                                                                                       RE:
        Account No. 31615.001000                                          Special Counsel to Cred. Comm.

                                                       ANY PAYMENTS APPLIED AFTER 12/31/2016
                                                       MAY NOT BE INCLUDED ON THIS STATEMENT



                                    Previous Balance                                                                 $33,744.99

                                                            Fees

                                                                                                            Hours
12/01/2016    TRB   B110    A104 Review/analyze status report of patient care ombudsman                      0.30        135.00
              TRB   B140    A104 Review/analyze stipulation re motion for relief from stay and
                                 notice of lodgment re same                                                  0.10         45.00
              TRB   B160    A104 Review/analyze fee statement of PCO                                         0.10         45.00

12/02/2016    TRB   B160    A104 Review/analyze notice of fee applications                                   0.10         45.00
              TRB   B110    A104 Review/analyze supplement to status report by Summit
                                 Healthcare                                                                  0.10         45.00

12/05/2016    TRB   B110    A107 Correspondence with co-counsel re status conference and
                                 representation at the same                                                  0.10         45.00
              TRB   B140    A104 Review/analyze order granting stipulation re MFRS                           0.10         45.00

12/06/2016    TRB   L300    A108 Review email from secured creditor counsel re discovery and
                                 protective order                                                            0.10         45.00

12/07/2016    TRB   B310    A108 Review email from counsel re consent order                                  0.10         45.00
              TRB   B310    A108 Review email from co-counsel re status of settlement
                                 negotiations with secured creditor and revised term sheet                   0.10         45.00

12/08/2016    TRB   B310    A108 Review emails from committee members re revised term sheet                  0.10         45.00
              TRB   B320    A104 Review/analyze motion to extend exclusivity                                 0.20         90.00
              TRB   L210    A104 Review/analyze motion to extend time within which to remove
                                 actions                                                                     0.20         90.00

12/09/2016    TRB   L300    A108 Review email from counsel for secured creditor re FRBP 2004
                                 exam                                                                        0.10         45.00
             Case 2:16-bk-17463-ER       Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33 Desc
                                          Main Document    Page 12 of 18   Statement Date: 12/31/2016
        Gardens Regional Hospital
        Account No. 31615.001000                                                         Statement No. 38616
        RE: Special Counsel to Cred. Comm.                                                        Page No.           2


                                                                                                             Hours
              TRB   B310   A108 Review email from counsel for secured creditor re status of
                                investigation and dispute of claims                                           0.10        45.00
              TRB   B110   A104 Review/analyze audit letter response to Cal AG                                0.20        90.00

12/12/2016    TRB   B230   A104 Review/analyze emergency motion re DIP financing                              0.20        90.00

12/13/2016    CH    L430   A207 Finalize and file Second Stipulation Extending Deadline to
                                Submit Disputes to Secured Claims and Notice of Lodgment;
                                prepare courtesy copies of the same                                           1.40       280.00
              TRB   B230   A104 Review/analyze ex parte application re hearing on emergency
                                DIP financing motion                                                          0.10        45.00
              TRB   B310   A103 Draft/revise order regarding second stipulation with Sycamore
                                and Roxbury; coordinate re filing of stipulation and order                    0.40       180.00
              TRB   B230   A107 Communications with co-counsel regarding attendance at
                                emergency hearing and coordinating telephonic appearance re
                                same                                                                          0.20        90.00
              TRB   B230   A104 Review/analyze notice of rescheduled hearing on Debtor's
                                emergency motion re DIP financing                                             0.10        45.00
              TRB   B230   A104 Review/analyze order rescheduling hearing on emergency
                                motion re DIP financing                                                       0.10        45.00

12/16/2016    TRB   B230   A107 Review email from co-counsel re summary of hearing on
                                emergency DIP financing motion and deadlines set by court                     0.10        45.00
              TRB   B230   A104 Review/analyze notice of lodgment re emergency motion (.1)
                                and order granting emergency motion (.1)                                      0.20        90.00
              TRB   B310   A104 Review order granting second stipulation re
                                Roxbury/Sycamore claim dispute                                                0.10        45.00
              TRB   B110   A104 Review correspondences re finality of AG decision                             0.10        45.00

12/21/2016    TRB   B160   A105 Strategize re fee application filing                                          0.20        90.00

12/22/2016    CH    L190   A103 Draft November Fee Application                                                0.50       100.00

12/23/2016    CH    L190   A103 Draft November Fee Application                                                1.50       300.00
              TRB   B110   A108 Review email from secured creditor's counsel re joint
                                stipulation                                                                   0.10        45.00

12/27/2016    TRB   B160   A103 Finalize and file fee applications [n/c]                                      0.60          n/c
              TRB   B160   A103 Review/revise BMK fee application                                             0.30       135.00
              TRB   B160   A107 Review email from Lucas Hammonds re Committee
                                co-counsel fee application.                                                   0.10        45.00

12/28/2016    CH    L190   A101 Prepare mail and courtesy copies of BMK and Sills Cummis'
                                November fee applications                                                     0.70          n/c
              TRB   B310   A107 Telephone call with Andrew Sherman re formal dispute                          0.20        90.00
              TRB   B310   A103 Review/analyze draft dispute of secured creditor's claim (.2);
                                draft/revise notice of dispute of secured creditor's claim (.3)               0.50       225.00
              TRB   B310   A108 Review email from secured creditor re extension of time to
                                submit dispute                                                                0.10        45.00
              TRB   B110   A104 Review/analyze declarations of non-opposition and notices of
                                lodgment re motions for extension of exclusivity and time to
                                remove actions                                                                0.10        45.00
             Case 2:16-bk-17463-ER          Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33 Desc
                                             Main Document    Page 13 of 18   Statement Date: 12/31/2016
        Gardens Regional Hospital
        Account No. 31615.001000                                                              Statement No. 38616
        RE: Special Counsel to Cred. Comm.                                                             Page No.            3


                                                                                                                  Hours
              TRB       B110   A108 Draft email to debtor's counsel re wiring instructions                         0.10         45.00
              TRB       B110   A104 Review/analyze MOR                                                             0.10         45.00

12/29/2016    TRB       B160   A104 Review/analyze debtor's counsel fee application                                0.20         90.00

12/30/2016    TRB       B160   A104 Review/analyze notice of 4th professional fee applications                     0.10         45.00
              TRB       B160   A104 Review/analyze notice of intention to retain additional ordinary
                                    course professional and disclosure declaration re same                         0.10         45.00
              TRB       B110   A104 Review/analyze orders extending exclusivity and extending
                                    time to remove action                                                          0.10         45.00
                                      For Current Services Rendered                                                9.40     3,380.00
                                      Total Non-billable Hours                                                     1.30

                                                           Recapitulation
               Timekeeper                                                Hours            Rate              Total
               Tony Bisconti                                              6.00         $450.00          $2,700.00
               Carolyn Howland                                            3.40          200.00             680.00


                                                             Expenses

12/14/2016              L100   E107 Delivery services/Certified mail - ASAP Legal fee for courtesy copy
                                    to USBC Central in Los Angeles                                                              25.00
12/28/2016              L100   E107 Delivery services/Certified mail - Golden State Overnight delivery to
                                    USBK Court in Los Angeles                                                                   19.82
12/31/2016              L100   E103 Nov. Fee App                                                                                90.00
                                      Total Expenses                                                                           134.82

                                      Total Current Work                                                                    3,514.82


                                      Balance Due                                                                         $37,259.81

                                                    Task Code Recapitulation
                                                                                                              Fees         Expenses
B110   Case Administration                                                                                   585.00            0.00
B140   Relief from Stay/Adequate Protection Proceedings                                                       90.00            0.00
B160   Fee/Employment Applications                                                                           540.00            0.00
B100   Administration                                                                                       1,215.00             0.00

B230   Financing/Cash Collections                                                                            450.00              0.00
B200   Operations                                                                                            450.00              0.00

B310   Claims Administration and Objections                                                                  765.00              0.00
B320   Plan and Disclosure Statement (including Business Plan)                                                90.00              0.00
B300   Claims and Plan                                                                                       855.00              0.00

L100   Case Assessment, Development and Administration                                                         0.00            134.82
L190   Other Case Assessment, Development and Administration                                                 400.00              0.00
           Case 2:16-bk-17463-ER          Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33 Desc
                                           Main Document    Page 14 of 18   Statement Date: 12/31/2016
        Gardens Regional Hospital
        Account No. 31615.001000                                               Statement No. 38616
        RE: Special Counsel to Cred. Comm.                                           Page No.        4


                                                                                           Fees      Expenses
L100   Case Assessment, Development and Administration                                    400.00         134.82

L210   Pleadings                                                                           90.00           0.00
L200   Pre-Trial Pleadings and Motions                                                     90.00           0.00

L300   Discovery                                                                           90.00           0.00
L300   Discovery                                                                           90.00           0.00

L430   Written Motions and Submissions                                                    280.00           0.00
L400   Trial Preparation and Trial                                                        280.00           0.00




                                     www.bmkattorneys.com
      Case 2:16-bk-17463-ER            Doc 645       Filed 01/25/17         Entered 01/25/17 21:52:33             Desc
                               BIENERT,
                                    MainMILLER
                                        Document & KATZMAN,
                                                   Page 15 of 18 PLC
                                               903 Calle Amanecer, Suite 350
                                                 San Clemente, CA 92673

                                                       949-369-3700


  Gardens Regional Hospital




                               Please include this page with your remittance.

                                                  ANY PAYMENTS APPLIED AFTER 12/31/2016
                                                  MAY NOT BE INCLUDED ON THIS STATEMENT




          Previous Balance                 Fees           Expenses              Advances              Payments             Balance

31615-001000 Special Counsel to Cred. Comm.
               33,744.99           3,380.00                  134.82                    0.00                0.00          $37,259.81




                                 www.bmkattorneys.com



Please Charge $________________________ on the following:

  Visa            MasterCard        Discover       American Express

 Name on Card:

 Address on Card:
                                                                                              Amount Remitted:

                                                                                                    Check No.:
                                                                                               Statement Date:      12/31/2016
 Card Number                                                          Exp. Date (required)
                                                                                                   Account No.    31615.001000
 Card Holder Signature                                                 Security Code


                         INTEREST CHARGED ON UNPAID BALANCE AFTER THIRTY DAYS - 1% PER MONTH
        Case 2:16-bk-17463-ER                     Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33                                       Desc
                                                   Main Document    Page 16 of 18


                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

903 Calle Amanecer, Ste. 350
San Clemente, CA 92672

A true and correct copy of the foregoing document entitled (specify): BIENERT, MILLER & KATZMAN PLC’S MONTHLY
FEE APPLICATION          FOR      ALLOWANCE        AND      PAYMENT       OF    INTERIM     COMPENSATION        AND
REIMBURSEMENT OF EXPESNES FOR THE PERIOD FROM DECEMBER 1, 2016 THROUGH DECEMBER 31, 2016
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
1/25/17, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 1/25/17, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.


                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 1/25/17, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Ernest M. Robles
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and U.S. Courthouse
255 East Temple Street/Courtroom 1568
Los Angeles, CA 90012



                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/25/17                      Carolyn K. Howland                                               /s/ Carolyn K. Howland
 Date                           Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 2:16-bk-17463-ER                     Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33                                       Desc
                                                   Main Document    Page 17 of 18



1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

       Karl E Block kblock@loeb.com, klyles@loeb.com;ladocket@loeb.com
       Manuel A Boigues bankruptcycourtnotices@unioncounsel.net
       Louis J Cisz lcisz@nixonpeabody.com, sf.managing.clerk@nixonpeabody.com
       Dawn M Coulson dcoulson@eppscoulson.com, cmadero@eppscoulson.com
        Jerome Bennett Friedman jfriedman@flg-law.com, msobkowiak@flg-law.com;jmartinez@flg-
        law.com;sbiegenzahn@flg-law.com
       W. Jeffery Fulton jeff@jefffultonlaw.com, Yvonne@jefffultonlaw.com
       Barry S Glaser bglaser@swesq.com, erhee@swesq.com
       Jeffrey I Golden jgolden@wgllp.com, kadele@wgllp.com;lfisk@wgllp.com;tziemann@wgllp.com
       Rhonda S Goldstein rhonda.goldstein@ucop.edu, lissa.ly@ucop.edu
        Lawrence J Hilton lhilton@onellp.com,
        lthomas@onellp.com;info@onellp.com;evescance@onellp.com;crodriguez@onellp.com;rwenzel@onellp.com
       David Jacobs cemail@ebglaw.com, djacobs@ebglaw.com
       Ivan L Kallick ikallick@manatt.com, ihernandez@manatt.com
       Eve H Karasik ehk@lnbyb.com
       Gary E Klausner gek@lnbyb.com
       Stuart I Koenig Skoenig@cmkllp.com, knielsen@cmkllp.com
       John P Kreis jkreis@kreislaw.com, j.kreis@ca.rr.com
       Dare Law dare.law@usdoj.gov, ron.maroko@usdoj.gov
       Elan S Levey elan.levey@usdoj.gov, louisa.lin@usdoj.gov
       Wendy A Loo wendy.loo@lacity.org
       Stephen A Madoni stevemadoni@aol.com, nathally@madonilaw.com
       Howard N Madris hmadris@madrislaw.com
        Samuel R Maizel samuel.maizel@dentons.com,
        alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com
       Boris I Mankovetskiy bmankovetskiy@sillscummis.com
       Amanda L Marutzky amarutzk@wthf.com, jjensen@watttieder.com
       David W. Meadows david@davidwmeadowslaw.com
        John A Moe john.moe@dentons.com,
        glenda.spratt@dentons.com,laurie.soledad@dentons.com,jennifer.wall@dentons.com,andy.jinnah@dentons.com
       Benjamin Nachimson ben.nachimson@wnlawyers.com
       Steven G Polard stevenpolard@dwt.com, melissastrobel@dwt.com;Linapearmain@dwt.com
       Kurt Ramlo kr@lnbyb.com, kr@ecf.inforuptcy.com
       David M Reeder dmr@vrmlaw.com, jle@vrmlaw.com
       J. Alexandra Rhim arhim@hemar-rousso.com
       Emily P Rich erich@unioncounsel.net, bankruptcycourtnotices@unioncounsel.net
       Mary H Rose mrose@buchalter.com, mrose@buchalter.com
       Andrew H Sherman asherman@sillscummis.com
       Leonard M Shulman lshulman@shbllp.com
       Gerald N Sims jerrys@psdslaw.com, bonniec@psdslaw.com
       Alan Stomel alan.stomel@gmail.com, astomel@yahoo.com
       Tiffany Strelow Cobb tscobb@vorys.com
       Wayne R Terry wterry@hemar-rousso.com
       Gary F Torrell gft@vrmlaw.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Kenneth K Wang kenneth.wang@doj.ca.gov,
        Jennifer.Kim@doj.ca.gov;susan.lincoln@doj.ca.gov;yesenia.caro@doj.ca.gov
        Hatty K Yip hatty.yip@usdoj.gov,
        dare.law@usdoj.gov,melanie.scott@usdoj.gov,queenie.k.ng@usdoj.gov,ron.maroko@usdoj.gov
       Matthew Zandi mzandi@kbrlaw.com


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 2:16-bk-17463-ER                     Doc 645 Filed 01/25/17 Entered 01/25/17 21:52:33                                       Desc
                                                   Main Document    Page 18 of 18



2. SERVED BY UNITED STATES MAIL
Beckman Coulter, Inc.                                                             Rebecca J Price
Law Firm of Bernstein-Burkley                                                     Norris Mclaughlin & Marcus, P.A.
PC 707 Grant St Ste 2200                                                          515 West Hamilton St Ste 502
Gulf Tower                                                                        Allentown, PA 18101
Pittsburgh, PA 15219
                                                                                  Lori L Purkey
Dentons US LLP                                                                    Stryker Instruments, Division of Sryker
Successor by merger to McKenna Long etc                                           5050 Cascade Rd SE Ste A
601 South Figueroa St                                                             Grand Rapids, MI 49546
Ste 2500
Los Angeles, CA 90017-5704                                                        Sills Cummis & Gross
                                                                                  One Riverfront Plaza
Wendi A Horwitz                                                                   Newark, NJ 07102
300 S Spring St Ste 1702
Los Angeles, CA 90013                                                             Stryker Financial
                                                                                  Lori L Purkey of Purkey & Associates
Law Firm of Bernstein-Burkley PC                                                  3050 Cascade Rd SE Ste A
707 Grant St                                                                      Grand Rapids, MI 49546
Ste 2200 Gulf Tower
Pittsburgh, PA 15219                                                              Sycamore Healthcare Services
                                                                                  Gary E Klausner of Levene Neal Bender
Lobel Weiland Golden Friedman LLP                                                 10250 Constellation Blvd
650 Town Center Drive, Suite 950                                                  Ste 1700
Costa Mesa, CA 92626                                                              Los Angeles, CA 90067

                                                                                  Sycramore Healthcare Services LLC
                                                                                  Beryl Weiner of Selvin & Weiner APC
                                                                                  12401 Wilshire 2nd Fl
                                                                                  Los Angeles, CA 90025-1089




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
